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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

 

Eastern Division ply [,.0
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V{i" ~i/JC";}’A C)OU
-vs- Case No. l:05cr °tl@§fi%`OlT

MICHAEL PAUL SWAIM

 

ORDER OF DETENT|ON PEND|NG TRIAL
F|ND|NGS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(1‘), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

D|RECT|ONS REGARD|NG DETENT|ON

MICHAEL PAUL SWAIM is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. MlCHAEL PA UL SWAIM shall be afforded a reasonable
opportunity for private consultation with defense counsell On order of a Court of the United States or on request of an
attorney for the government, the person in charge of the corrections facility shall deliver the Defendant to the Unitcd
Stales marshal for the purpose of an appearance in connection with a Court proceeding

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Datc: Augu5126,2005 § fhi'mfl‘-(M"

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

This document entered on the docket sheet In compliance
mm Rule 55 and/or 32(b) FRCrP on

 

 

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This notice confirms a copy of the document docketed as number 9 in
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Honorable J ames Todd
US DISTRICT COURT

